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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                   )
CHINATOWN SERVICE CENTER, et al.,                  )
                                                   )
                      Plaintiffs,                  )
                                                   )
v.                                                 )       Case No. 1:21-cv-00331-JEB
                                                   )
U.S. DEPARTMENT OF HEALTH                          )
AND HUMAN SERVICES, et al.,                        )
                                                   )
                      Defendants.                  )
                                                   )

                 UPDATE ON STATUS OF PROPOSED RULEMAKING

       Pursuant to this Court’s Memorandum Opinion and Order, ECF No. 23, Defendants submit

this update on their proposed rulemaking. On August 4, 2022, a proposed regulation implementing

Section 1557 of the Affordable Care Act was published in the Federal Register. Nondiscrimination

in Health Programs and Activities, 87 Fed. Reg. 47,824 (Aug. 4, 2022). The United States

Department of Health and Human Services is seeking comment on all issues raised by the proposed

regulation. The comment period closes on October 3, 2022.

Dated: September 30, 2022                       Respectfully submitted,

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